Case 2:20-cv-13134-LVP-RSW ECF No. 109, PageID.4481 Filed 02/05/21 Page 1 of 8




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 TIMOTHY KING, MARIAN SHERIDAN,
 JOHN HAGGARD, CHARLES
 RITCHARD,
 JAMES HOOPER, DAREN
 RUBINGH,


       Plaintiffs,
 v.                                           CASE NO. 2:20-cv-13134

 GRETCHEN WHITMER, in her official            Hon. Linda V. Parker
 capacity as the Governor of the State of     Mag. R. Steven Whalen
 Michigan, JOCELYN BENSON, in her
 official capacity as Michigan Secretary of
 State and the Michigan BOARD OF
 STATE CANVASSERS,
       Defendants,
 and
 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY,
      Intervenor-Defendants.
       Defendant.




     PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUPPLEMENTAL
  OPPOSITION TO THE CITY OF DETROIT’S MOTION FOR SANCTIONS,
 FOR DISCIPLINARY ACTION, FOR DISBARMENT REFERRAL AND FOR
    REFERRAL TO STATE BAR DISCIPLINARY BODIES AND TO THE
 DEFENDANTS WHITMER AND BENSON’S CONCURRENCE IN CITY OF
              DETROIT’S MOTION FOR SANCTIONS
       Pursuant to Rule 15 of the Federal Rule of Civil Procedure, Plaintiffs

respectfully move the Court for leave to file the attached Supplemental Opposition
Case 2:20-cv-13134-LVP-RSW ECF No. 109, PageID.4482 Filed 02/05/21 Page 2 of 8




to the City of Detroit’s Motion for Sanctions, for Disciplinary Action, for Disbarment

Referral and for Referral to State Bar Disciplinary Bodies and to the Defendants

Whitmer and Benson’s Concurrence in the City of Detroit’s Motion for Sanctions.

Allowing Plaintiffs to file the Supplemental Opposition would serve justice and

promote judicial efficiency. This Honorable Court has not yet issued a ruling on the

instant motion. Further, there would be no substantial or undue prejudice, bad

faith, undue delay, or futility.


       Plaintiffs specifically seek to inform the court that attorney Gregory Rohl

filed Plaintiffs Complaint, (R. 1), as it was provided to him by the Sidney Powell

team. Mr. Rohl made no additions, deletions, or corrections to the Complaint and

merely added his signature to the signature page. Sidney Powell was not yet able to

sign the Complaint as the Eastern District of Michigan requires admission to the

court to submit documents signed by out of state attorneys. United States District

Court—Eastern Michigan District, February 2, 2021,

https://www.mied.uscourts.gov/index.cfm?pageFunction=Information%20For%20Att

orneysFAQList&FAQGroup=Information%20For%20Attorneys.


       Plaintiffs have sought concurrence from opposing counsel to file a

Supplemental Opposition to the City of Detroit’s Motion for Sanctions, for

Disciplinary Action, for Disbarment Referral and for Referral to State Bar

Disciplinary Bodies and to the Defendants Whitmer and Benson’s Concurrence in

the City of Detroit’s Motion for Sanctions, and concurrence was denied. Plaintiffs

are attaching Plaintiffs’ Proposed Supplemental Opposition to the City of Detroit’s

                                           1
Case 2:20-cv-13134-LVP-RSW ECF No. 109, PageID.4483 Filed 02/05/21 Page 3 of 8




Motion for Sanctions, for Disciplinary Action, for Disbarment Referral and for

Referral to State Bar Disciplinary Bodies and to the Defendants Whitmer and

Benson’s Concurrence in City of Detroit’s Motion for Sanctions. (Exhibit 1).




                                       Respectfully submitted,



                                       /s/ Stefanie Lambert Junttila
                                       STEFANIE LAMBERT JUNTTILA (P71303)
                                       Attorney for the Plaintiffs
                                       500 Griswold Street, Ste. 2340
                                       Detroit, MI 48226
                                       (313) 963-4740
                                       attorneystefanielambert@gmail.com


Dated: February 4, 2021




 MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR LEAVE TO
   FILE SUPPLEMENTAL OPPOSITION TO THE CITY OF DETROIT’S
     MOTION FOR SANCTIONS, FOR DISCIPLINARY ACTION, FOR
    DISBARMENT REFERRAL AND FOR REFERRAL TO STATE BAR
  DISCIPLINARY BODIES AND TO THE DEFENDANTS WHITMER AND

                                          2
Case 2:20-cv-13134-LVP-RSW ECF No. 109, PageID.4484 Filed 02/05/21 Page 4 of 8




    BENSON’S CONCURRENCE IN CITY OF DETROIT’S MOTION FOR
                       SANCTIONS

      Pursuant to Rule 15, Plaintiffs move the Court to file the attached proposed

Supplemental Opposition to the City of Detroit’s Motion for Sanctions, for

Disciplinary Action, for Disbarment Referral, and for Referral to State Bar

Disciplinary Bodies and to the Defendants Whitmer and Benson’s Concurrence in

the City of Detroit’s Motion for Sanctions.


      Based on additional information Plaintiffs seek leave to supplement the

original Opposition to the City of Detroit’s Motion for Sanctions, for Disciplinary

Action, for Disbarment Referral, and for Referral to State Bar Disciplinary Bodies

and to the Defendants Whitmer and Benson’s Concurrence in the City of Detroit’s

Motion for Sanctions.


                           PROCEDURAL BACKGROUND

      Plaintiffs filed the original Complaint on November 25, 2020 with Gregory

Rohl serving as local counsel. Plaintiffs amended their complaint on November 29,

2020 and filed a motion for Emergency Motion for Declaratory, Emergency, and

Injunctive Relief, TRO (R. 6, 7). This Honorable Court denied the TRO on December

7, 2020. Plaintiffs promptly filed a Notice to Appeal with Stefanie Lambert Junttila

serving as appellate local counsel. On January 5, 2021, the City of Detroit filed the

City of Detroit’s Motion for Sanctions, for Disciplinary Action, for Disbarment

Referral and for Referral to State Bar Disciplinary Bodies. On January 19, 2021

Plaintiffs filed its Opposition to the City of Detroit’s Motion for Sanctions, for


                                              3
Case 2:20-cv-13134-LVP-RSW ECF No. 109, PageID.4485 Filed 02/05/21 Page 5 of 8




Disciplinary Action, for Disbarment Referral and for Referral to State Bar

Disciplinary Bodies. (R. 93).


      Plaintiffs now seek to supplement its Opposition to the City of Detroit’s

Motion for Sanctions, for Disciplinary Action, for Disbarment Referral and for

Referral to State Bar Disciplinary Bodies (R. 93) with additional information

pertaining to procedural information addressed on page nine of Plaintiffs

Opposition to the City of Detroit’s Motion for Sanctions, for Disciplinary Action, for

Disbarment Referral and for Referral to State Bar Disciplinary Bodies. Specifically,

Mr. Rohl seeks to submit an affidavit with additional information and Plaintiffs

Proposed Supplemental Opposition to the City of Detroit’s Motion for Sanctions, for

Disciplinary Action, for Disbarment Referral and for Referral to State Bar

Disciplinary Bodies is attached to this Motion for Leave to File Supplemental

Opposition to the City of Detroit’s Motion for Sanctions, for Disciplinary Action, for

Disbarment Referral and for Referral to State Bar Disciplinary Bodies. (Exhibit 1).


                                ISSUE PRESENTED


      Question:     Should the Court grant leave for Plaintiffs to file Supplemental

Opposition to the City of Detroit’s Motion for Sanctions, for Disciplinary Action, for

Disbarment Referral, and for Referral to State Bar Disciplinary Bodies and to the

Defendants Whitmer and Benson’s Concurrence in the City of Detroit’s Motion for

Sanctions?


      Answer:       Yes.
                                           4
Case 2:20-cv-13134-LVP-RSW ECF No. 109, PageID.4486 Filed 02/05/21 Page 6 of 8




                      LEGAL STANDARD AND ARGUMENT

      Rule 15 states that “a party may amend its pleading with the courts leave”

and that “the court should freely give leave when justice so requires.” Fed. R. Civ. P.

15.


      “Leave to amend must generally be granted unless equitable considerations

render it otherwise unjust.” Arthur v. Maersk, Inc., 434 F.3d 196, 204 (3d Cir. 2006)

(citing Foman v. Davis, 371 U.S. 178, 182 (1962) and Lorenz v. CSX Corp., 1 F.3d

1406, 1414 (3d Cir. 1993)). “In the absence of substantial or undue prejudice, denial

[of a motion to amend] must be grounded in bad faith or dilatory motives, truly

undue or unexplained delay, repeated failure to cure deficiency by amendments

previously allowed or futility of amendment.” Heyl & Patterson Int’l, Inc. v. F.D.

Rich Housing of V.I., Inc., 663 F.2d 419, 425 (3d Cir. 1981) (citing Foman, 371 U.S.

at 182). Given the liberal standard under Rule 15(a), “the burden is on the party

opposing the amendment to show prejudice, bad faith, undue delay, or futility.”

Chancellor v. Pottsgrove Sch. Dist., 501 F. Supp. 2d 695, 700 (E.D. Pa. 2007).


      Allowing Plaintiffs to file the Supplemental Opposition to the City of Detroit’s

Motion for Sanctions, for Disciplinary Action, for Disbarment Referral, and for

Referral to State Bar Disciplinary Bodies and to the Defendants Whitmer and

Benson’s Concurrence in the City of Detroit’s Motion for Sanctions would serve

justice by allowing the court to rely on additional information when issuing its

ruling on the instant motion.



                                           5
Case 2:20-cv-13134-LVP-RSW ECF No. 109, PageID.4487 Filed 02/05/21 Page 7 of 8




                                   CONCLUSION

      For these reasons, Plaintiffs respectfully request that the Court grant leave

to file the attached Supplemental Opposition to the City of Detroit’s Motion for

Sanctions, for Disciplinary Action, for Disbarment Referral, and for Referral to

State Bar Disciplinary Bodies and to the Defendants Whitmer and Benson’s

Concurrence in the City of Detroit’s Motion for Sanctions.




                                       /s/ Stefanie Lambert Junttila
                                       STEFANIE LAMBERT JUNTTILA (P71303)
                                       Attorney for the Plaintiffs
                                       500 Griswold Street, Ste. 2340
                                       Detroit, MI 48226
                                       (313) 963-4740
                                       attorneystefanielambert@gmail.com

Dated: February 4, 2021

                                Certificate of Service
      I, Stefanie Lambert Junttila, attorney at law, certify that on February 4,

2021, I caused a copy of this pleading to be served upon the Clerk of the Court and

Government via E-file.




                                       /s/ Stefanie Lambert Junttila
                                       STEFANIE LAMBERT JUNTTILA




                                          6
Case 2:20-cv-13134-LVP-RSW ECF No. 109, PageID.4488 Filed 02/05/21 Page 8 of 8




                                      7
